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               8                       UNITED STATES DISTRICT COURT
               9                      CENTRAL DISTRICT OF CALIFORNIA
              10

              11    WILLIAM CRABTREE,                       Case No. 2:22-cv-00180-MEMF (AFMx)
              12                       Plaintiff,           PLAINTIFF WILLIAM
                                                            CRABTREE’S OPPOSITION TO
              13                 v.                         DEFENDANTS’ MOTION IN LIMINE
                                                            NO. 4; DECLARATION OF PETER D.
              14    ROBERT KIRKMAN, an individual;          SCOTT
                    ROBERT KIRKMAN, LLC, a
              15    Kentucky limited liability company,     Date: January 31, 2024
                    and DOES 1-10, inclusive.               Time: 9:00 a.m.
              16                                            Ctrm: 8B
                                       Defendants.
              17                                              Action Filed:      January 9, 2022
                                                              FPTC:              January 31, 2024
              18                                              Trial Date:        February 20, 2024
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               1   I.    INTRODUCTION
               2         Defendants Robert Kirkman and Robert Kirkman, LLC’s (“Defendants”)
               3   Motion in Limine No. 4 seeks to exclude testimony of Tony Moore and Tony
               4   Moore’s state law complaint against Defendants. While Plaintiff William Crabtree
               5   (“Plaintiff” or “Crabtree”) does not intend to call Mr. Moore as a witness (save for
               6   any potential impeachment matters should they arise), the 2012 Complaint by Mr.
               7   Moore is directly relevant to numerous in this case and must be seen by the jury.
               8         First, Kirkman’s primary defenses in this action are that Crabtree’s claims are
               9   barred, in part, by the relevant statutes of limitation and doctrines of waiver and
              10   laches. The primary evidence that Kirkman relies upon for these defenses is an
              11   March 2012 email chain between Kirkman and Crabtree where the Moore v. Kirkman
              12   lawsuit is explicitly referenced:
              13         Kirkman:      […] You signed a work for hire contract on Invincible.
              14                       I've honored that contract. […]

              15         Crabtree:     [T]his is the same work for hire contract tony [Moore]
              16                       is suing you over at the momen[t], correct?

              17
                   (Scott Decl. Ex. 4 [March 2012 Email Chain.]) Indeed, the text of this very exchange
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                   is included as an admitted fact in the parties’ Joint Pretrial Conference Order.
              19
                   Kirkman claims that this exchange triggers the running of the statute of limitations
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                   on Crabtree’s breach of contract claims. Clearly, the jury must be entitled to see the
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                   Moore v. Kirkman lawsuit that is being discussed in this exchange in order to assess
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                   Kirkman’s defense and Crabtree’s response thereto. Kirkman cannot have it both
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                   ways – relying on the reference to Moore v. Kirkman lawsuit when it suits him, but
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                   preventing the jury from seeing what the actual allegations in that lawsuit were.
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                   Kirkman himself put the Moore v. Kirkman lawsuit in issue in this case.
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                         Second, the Moore v. Kirkman Complaint and allegations contained therein
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                   are relevant and admissible under Federal Rules of Evidence 404 and 608 to establish
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               1   Kirkman’s motive, intent, knowledge and modus operandi vis a vis collaborating
               2   artists and adherence to his payment obligations to them. Jones, Cal. Practice Guide
               3   Fed. Civ. Trials & Ev. (The Rutter Group 2024) 8B-B (“Evidence of lawsuits filed
               4   by others against defendant may be admissible as ‘background evidence’ relevant to
               5   show defendant's knowledge, motive, intent.”) Additionally, the allegations and
               6   claims in the Moore v. Kirkman lawsuit are relevant to Kirkman’s character for
               7   untruthfulness and credibility as a witness, which is of central importance in this
               8   lawsuit where the terms of the parties’ agreement will be established, in part, by the
               9   competing testimony of Crabtree and Kirkman. In particular, Kirkman testified
              10   under oath in this proceeding that he has, without fail, paid all artists he has worked
              11   with in full. (Scott Decl. Ex. 2 [Kirkman DT 74:16-24].) This is demonstrably untrue
              12   based on the Moore v. Kirman lawsuit.
              13   II.   ARGUMENT
              14         A.     The 2012 Moore Complaint is Directly at Issue in the Email
              15                Communications Upon Which Kirkman Bases his Statute of
              16                Limitations, Waiver and Laches Affirmative Defenses
              17         Kirkman’s primary defense in this action is that a large portion of Crabtree’s
              18   claimed breaches of contract are time barred under the applicable statutes of
              19   limitation or the doctrines of waiver and laches. Kirkman defense rests almost
              20   entirely on an March 2012 email chain between Kirkman and Crabtree that
              21   Kirkman claims should have alerted Crabtree to the fact that Kirkman was
              22   breaching their contract and was not paying Crabtree what he was owed.1
              23   Specifically, that March 2012 email chain contains the following exchange:
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              26   1
                    From Crabtree’s standpoint, the Court has already addressed this issue in its Order
              27   on Kirkman’s Summary Judgment (Dkt. #36) and has rejected Kirkman’s
                   argument. Crabtree’s further and more detailed arguments as to the invalidity of
              28   Kirkman’s statute of limitations and related defenses are set forth in Crabtree’s
                   Opposition to Kirkman’s Motion in Limine No. 3.
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               1         Kirkman:     The digital issue reprints are no different than the
               2                      TPBs . . . You didn't get ‘your share’ of the MTV
                                      motion comics. I gave you a bonus because it was an
               3                      adaptation directly using your work. You signed a
               4                      work for hire contract on Invincible. I've honored that
                                      contract. […]
               5

               6         Crabtree:    [T]his is the same work for hire contract tony [Moore]
                                      is suing you over at the momen[t], correct?
               7

               8   (Scott Decl. Ex. 4 [March 2012 Email Exchange].) Indeed, the exact text of this
               9   exchange is an admitted fact in the parties’ Joint Pretrial Conference Order. (Joint
              10   Pretrial Conference Order, Admitted Fact Nos. 23 and 24). Clearly, the substance
              11   of the lawsuit by Mr. Moore against Mr. Kirkman and claims made therein is
              12   directly relevant to the jury’s consideration of this email exchange and the impact it
              13   may or may not have on Kirkman’s statute of limitations, laches and waiver
              14   defenses. Kirkman himself has put the Moore v. Kirkman lawsuit at issue by his
              15   reliance on this March 2012 email exchange. Clearly, under Rule of Evidence 401,
              16   the substance of the lawsuit and claims made therein is relevant and “has [a]
              17   tendency to make a fact more or less probable than it would be without the
              18   evidence” and “is of consequence in determining the action.”
              19         B.     The Moore Complaint is Admissible Under Federal Rule of
              20                Evidence 404 as Evidence of Modus Operandi, Motive, Intent and
              21                Character for Untruthfulness
              22         Federal Rule of Evidence 404 allows the introduction of other crimes,
              23   wrongs, or acts for “proving motive, opportunity, intent, preparation, plan,
              24   knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid.
              25   404(b)(2). “Evidence of lawsuits filed by others against defendant may be
              26   admissible as ‘background evidence’ relevant to show defendant's knowledge,
              27   motive, intent.” Jones, Cal. Practice Guide Fed. Civ. Trials & Ev. (The Rutter
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               1   Group 2024) 8B-B (citing Phillip v. ANR Freight Systems, Inc., 945 F. 2d 1054,
               2   1056 (8th Cir. 1991) (prior age discrimination lawsuits filed against defendant
               3   admissible and “such background evidence may be critical for the jury’s assessment
               4   of whether a given employer was more likely than not to have acted from an
               5   unlawful motive”); Johnstone v. Wabick, 220 F.Supp.2d 899, 903-904 (2002)
               6   (evidence of settlement or payment of prior suits admissible to establish defendant's
               7   motive to transfer assets). Additionally, such prior acts are likewise admissible to
               8   impeach the credibility of a witness under Federal Rule of Evidence 608, which
               9   allows a witness’s credibility to be attacked “by testimony about the witness’s
              10   reputation for having a character for truthfulness or untruthfulness,” or by specific
              11   instances of conduct if “probative of the character for truthfulness or untruthfulness
              12   of … the witness.” Fed. R. Evid. 404(a)(3), 608. Proof of false statements are
              13   relevant when credibility is at issue. U.S. v. Penaflor, 91 F.3d 157 (9th Cir. 1996).
              14   Further, “[e]vidence of prior frauds is considered probative of the witness’s
              15   character for truthfulness or untruthfulness.” U.S. v. Gay, 967 F.2d 322, 328 (9th
              16   Cir. 1992). 2
              17          The Moore v. Kirkman Complaint and the allegations and claims made therein
              18   reflect Kirkman’s modus operandi, knowledge and intent with respect to Crabtree.
              19   Specifically, the allegations in the Moore Complaint detail Kirkman (1) fraudulently
              20   convincing an artist collaborator to sign over his rights in the joint work to Kirkman
              21   on the promise that it will assist with closing “Hollywood” deals to both parties’
              22   benefit, (2) agreeing to pay the artist certain amounts in connection with the work and
              23   then (3) hiding monies that due to the artist under the agreement and refusing to pay
              24   as agreed. (Scott Decl. Ex. 3 [Moore Complaint].) This is exactly what Kirkman is
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              27     Varhol v. National R.R. Passenger Corp., 909 F.2d 1557, 1567 (7th Cir. 1990)
                   (“The reason for allowing cross-examination under Rule 608(b) is to allow a party
              28   to attempt to cast doubt on a witness’s reliability for telling the truth. Acts
                   involving fraud or deceit clearly raise such doubt…”)
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               1   alleged in this action to have done to Crabtree – i.e. coming to an agreement with
               2   Crabtree, getting him to sign the Certificate of Authorship, hiding revenues from
               3   Crabtree, then later claiming that there is no agreement. (Scott Decl. Ex. 1 [L.
               4   Rosenbaum Email].) Further and relatedly, in response to Kirkman’s statute of
               5   limitations defense, Crabtree intends to argue that the limitations period was tolled
               6   under the delayed discovery rule and equitable tolling doctrine as a result of
               7   Kirkman’s deceptive practice of hiding revenues received on Invincible that were
               8   owed to Crabtree, and which Crabtree only discovered through formal discovery in
               9   this very litigation. The Moore Complaint is background evidence of Kirkman’s
              10   knowledge, motive and intent as to Crabtree and is admissible under Rule of Evidence
              11   404(b)(2).
              12         Additionally, allegations of fraud and deceit made by former artist
              13   collaborators against Kirkman are admissible under Rules of Evidence 404(a)(3) and
              14   608 as evidence of Kirkman’s credibility and character for untruthfulness. Kirkman’s
              15   credibility is particularly important in this case because proving the terms of the
              16   parties’ oral agreement will rely in great part on the competing testimony of Crabtree
              17   and Kirkman. Lawsuits against Kirkman for fraud and breach of contract (that are
              18   strikingly similar to the facts at issue here) should be seen and considered by the jury
              19   is assessing Kirkman’s credibility. Further, Kirkman testified under oath in this case
              20   as follows:
              21          Q.     But from time to time you have asked artists to do work and
              22                 not paid them, right?

              23
                          A.     No.
                          Q.     Never?
              24
                          A.     No.
              25
                          Q.     So every time you have asked an artist to do work, you have
              26                 paid them what you promised?
              27          A.     Any time the work was for pay, I have paid them.
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               1   (Scott Decl. Ex. 2 [Kirkman DT 74:16-24].) Crabtree contends that this is untruthful
               2   testimony and is subject to impeachment with the Moore v. Kirkman complaint.
               3          C.     The Moore Complaint Is Not Inadmissible Hearsay as it is not
               4                 Offered for the Truth of the Matter Asserted
               5          Kirkman argues that the Moore Complaint is inadmissible hearsay under
               6   Federal Rule of Evidence 801. Kirkman is wrong. First, it is being offered to show
               7   both Kirkman and Crabtree’s state of mind in the March 2012 email exchange,
               8   which is an enumerated exception to the rule against hearsay. Fed. R. Evid. 803(3).
               9   Further, the Moore Complaint is not even hearsay as it is not being offered for the
              10   truth of the allegations contained therein. In addition to showing Kirkman and
              11   Crabtree’s state of mind, it is offered for the fact that it was filed in and of itself,
              12   which is of independent relevance beyond the truth of any matters asserted therein.
              13          D.     The Evidence is not Unfairly Prejudicial Under Federal Rule of
              14                 Evidence 403
              15          Kirkman argues that evidence regarding his earlier fraudulent conduct
              16   involving Moore is “highly prejudicial” and would lead to a “case within a case”
              17   which could confuse the jury. First, the standard is whether the evidence will be
              18   unfairly prejudicial not highly prejudicial. There is nothing unfair about introducing
              19   evidence concerning prior lawsuits against Kirkman’s – particularly where Kirkman
              20   himself put the lawsuit at issue. Further, there is no risk of “confusion” to the jury
              21   by virtue of this evidence and Kirkman will have the opportunity to offer his
              22   explanation and response to this evidence. The probative value of the evidence is
              23   extremely high and Kirkman has not established any issues which would
              24   “substantially outweigh” this probative value as required under Rule 403.
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               1   Dated: January 17, 2024           EARLY SULLIVAN WRIGHT
               2
                                                      GIZER & McRAE LLP

               3                                     By: /s/ Peter D. Scott
                                                          Devin A. McRae
               4                                          Peter D. Scott
               5
                                                          Attorneys for Plaintiff
                                                          WILLIAM CRABTREE
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               1                         DECLARATION OF PETER D. SCOTT
               2   I, Peter D. Scott, declare and state as follows:
               3         1.       I am an attorney licensed to practice in the State of California and the
               4   United States District Court for the Central District of California. I am a partner in
               5   the law firm of Early Sullivan Wright Gizer & McRae LLP, counsel of record for
               6   Plaintiff William Crabtree herein. I have personal knowledge of the facts set forth
               7   herein and if called as a witness could testify competently thereto.
               8         2.       Attached hereto as Exhibit 1 is a true and correct copy of an email
               9   chain dated between November 5, 2021 and November 30, 2021 between David
              10   Chidekel, Devin McRae, Sean Mackiewicz and Lee Rosenbaum, which was
              11   marked as Exhibit 28 at the Deposition of Robert Kirkman in this lawsuit and
              12   which is identified as a trial exhibit in this matter.
              13         3.       Attached hereto as Exhibit 2 is a true and correct copy of relevant
              14   portions of the deposition transcript of Defendant Robert Kirkman taken on March
              15   9, 2023, in this matter.
              16         4.       Attached hereto as Exhibit 3 is a true and correct copy of the
              17   Complaint in the action Moore v. Kirkman, et al., Los Angeles Superior Court Case
              18   No. BC478730, filed on February 9, 2012, and which has been marked as Trial
              19   Exhibit 233.
              20         5.       Attached hereto as Exhibit 4 is a true and correct copy of an email
              21   chain dated between March 16 and 17, 2012, between William Crabtree and Robert
              22   Kirkman Bates labeled RK1906 and marked as Trial Exhibit 314.
              23         I declare under penalty of perjury under the laws of the United States of
              24   America that the foregoing is true and correct. Executed at Los Angeles, California.
              25

              26   Dated: January 17, 2024                          _______________________________
              27                                                             PETER D. SCOTT
              28


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